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                                                THE HONORABLE BARBARA J. ROTHSTEIN
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 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE
 8
     PARLER, LLC,                                Case No. 21-cv-00270-BJR
 9
                                  Plaintiff,     PRAECIPE TO DKT. NO. 31
10
             vs.
11
     AMAZON WEB SERVICES, INC., and
12   AMAZON.COM, INC.,
13                                Defendants.
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     PRAECIPE TO DKT. NO. 31                                                   LAW OFFICES
                                                                           CALFO EAKES LLP
     (Case No. 18-cv-00270) - 1                                     1301 SECOND AVENUE, SUITE 2800
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                                                                   TEL (206) 407-2200 FAX (206) 407-2224
               Case 2:21-cv-00270-BJR Document 32 Filed 04/29/21 Page 2 of 2




 1          Please accept this Praecipe as Parler LLC’s authorization and request for the Clerk of Court

 2   to replace the Second Supplemental Declaration of Angelo J. Calfo in Support of Plaintiff’s

 3   Amended Motion for Remand or in the Alternative for Dismissal without Prejudice (Dkt. No. 31)

 4   with the attached document. The amended declaration contains corrections at the follow page and

 5   line numbers: 3:3, 3:8, 3:24, 4:3, 4:10, 4:14, 7:24, 8:5, and 18:11.

 6          Dated this 29th day of April, 2021.

 7                                              Respectfully submitted,

 8                                                 CALFO EAKES LLP
 9                                                 By     s/Angelo Calfo
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18                                                     Gene C. Schaerr (pro hac vice to be submitted)
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19                                                     submitted)
                                                       1717 K Street NW, Suite 900
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21                                                    Counsel for Plaintiff Parler LLC

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